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14
                                  UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                       SAN FRANCISCO DIVISION
17

18   UAB “PLANNER5D” d/b/a PLANNER 5D,               Case No. 3:19-CV-03132-WHO
                                                     Case No. 3:20-CV-08261-WHO
19                              Plaintiff,
                                                     [PROPOSED] ORDER GRANTING
20         v.                                        META’S PHASE 2 MOTION FOR
                                                     SUMMARY JUDGMENT
21   META PLATFORMS, INC.; META
     PLATFORMS TECHNOLOGIES, LLC; THE                Hearing Date: March 28, 2025
22   TRUSTEES OF PRINCETON UNIVERSITY; et            Time: 10:00 AM
     al.,                                            Courtroom: 2, 17th Floor
23                                                   Judge: Honorable William H. Orrick
                                Defendants.
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     [PROPOSED] ORDER GRANTING META’S PHASE 2 MSJ                           CASE NO. 3:19-CV-03132
          Case 3:19-cv-03132-WHO          Document 541-1        Filed 01/09/25     Page 2 of 2



 1          Before the Court is the Phase 2 Motion for Summary Judgment (the “Motion”) by Defendant

 2   Meta Platforms, Inc., and Meta Platforms Technologies, LLC (collectively “Meta”) that came for hearing

 3   before this Court on March 28, 2025, at 10:00 a.m. Having considered the briefs and arguments of the

 4   parties, and with good cause appearing therefor, the Court hereby GRANTS Meta’s Motion based on the

 5   following grounds:

 6          1. That Plaintiff UAB “Planner5D” d/b/a Planner 5D (“Planner 5D”) cannot establish trade secret

 7             misappropriation against Meta as a matter of law.

 8          2. That Planner 5D cannot establish copyright infringement of its asserted scene compilation

 9             against Meta as a matter of law.

10          3. That Planner 5D cannot establish copyright infringement of its asserted objects against Meta as

11             a matter of law.

12          4. That Planner 5D cannot establish copyright infringement of the 18 individual scenes it purports

13             to own against Meta as a matter of law.

14          5. That P5D cannot establish contributory liability as to copyright infringement against Meta as a

15             matter of law.

16          6. That P5D cannot establish vicarious liability as to copyright infringement against Meta as a

17             matter of law.

18          7. That Meta’s use of Planner 5D’s asserted copyrighted works is fair use under 17 U.S.C. § 107.

19          For the foregoing reasons, Plaintiff’s Complaint for Trade Secret Misappropriation and Copyright

20   Infringement (Case No. 3:20-cv-08261, consolidated), as to Meta is DISMISSED WITH PREJUDICE.

21          IT IS SO ORDERED.

22    Dated: _________________, 2025                     By: _____________________________________
                                                             The Honorable William H. Orrick
23                                                           United States District Judge
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     [PROPOSED] ORDER GRANTING META’S PHASE 2 MSJ                                   CASE NO. 3:19-CV-03132
